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                                                                                                                                         Registered Agent Solutions, Inc.
                                                                                                                                                      Corporate Mailing Address
                                                                                                                                                      1701 Directors Blvd.
                                                                                                                                                      Suite 300
                                                                                                                                                      Austin, TX 78744
                                                                                                                                                      Phone: (888) 705-RASi (7274)



                                                SERVICE OF PROCESS RECEIPT
6/6/2019
Michelle Lewis
                                                                                                                      NOTICE OF CONFIDENTIALITY
AAA Cooper Transportation
                                                                                                                      This notice and the information it contains are
1751 Kinsey Road                                                                                                      intended to be a confidential communication only to
Dothan, AL 36302 USA                                                                                                  the individual and/or entity to whom it is addressed.
                                                                                                                      If you have received this notice in error, immediately
                                                                                                                      call our SOP Department at (888) 705-7274.


RE: AAA Cooper Transportation

This receipt is to inform you that Registered Agent Solutions, Inc. has received a Service of Process on behalf of the
above-referenced entity as your registered agent and is hereby forwarding the attached document(s) for your immediate
review. A summary of the service is shown below; however, it is important that you review the attached document(s) in
their entirety for complete and detailed information.
For additional information and instruction, contact the document issuer: GORDON MCKERNAN INJURY ATTORNEYS


   SERVICE INFORMATION                                                                                   RASi REFERENCE INFORMATION
   Service Date:                        6/6/2019                                                         Service No.:                         0107925
   Service Time:                        10:15 AM CDT                                                     RASi Office:                         Louisiana
   Service Method:                      Deputy Sheriff                                                   Rec. Int. Id.:                       AXS

   CASE INFORMATION                                                                                      ANSWER / APPEARANCE INFORMATION
   Case Number:                         000000163274                    15 days               (Be sure to review the document(s)
                                                                                              for any required response dates)
   File Date:                           05/17/2019
   Jurisdiction:                        21ST JUDICIAL CIRCUIT COURT, LIVINGSTON PARISH, LOUISIANA
   Case Title:                          DIAMOND WILLIAMS VS. ANTONIO C. HALL, ET AL.

   AGENCY / PLAINTIFF INFORMATION
   Firm/Issuing Agent:                  GORDON MCKERNAN INJURY ATTORNEYS
   Attorney/Contact:                    BRAD R. MATTHEWS
   Location:                            Louisiana
   Telephone No.:                       225-926-1234

   DOCUMENT(S) RECEIVED & ATTACHED
   Summons
   Interrogatories
   Petition: FOR DAMAGES
   OtherDetail: REQUEST FOR WRITTEN NOTICE; 1ST SET OF REQ'S FOR PRODUCTION OF DOC'S


   ADDITIONAL NOTES




   Questions or Comments... Should you have any questions or need additional assistance, please contact the SOP Department at (888) 705-7274.
   You have been notified of this Service of Process by Insta-SOP Delivery, a secure email transmission. The transmitted documents have also been uploaded to your Corpliance account. RASi
   offers additional methods of notification including Telephone Notification and FedEx Delivery. If you would like to update your account's notification preferences, please log into your Corpliance
   account at www.rasi.com.


                                                                          Thank you for your continued business!
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